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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                   CENTRAL DIVISION
                                      LEXINGTON

 UNITED STATES OF AMERICA,                         )
                                                   )
       Plaintiff,                                  )         Criminal No. 5:23-cr-00093-GFVT-MAS
                                                   )
 v.                                                )
                                                   )
 MELVIN LEE COFFEY,                                )                      ORDER
                                                   )
       Defendant.                                  )
                                                   )

                                      ***    ***       ***    ***

       This matter is before the Court on the Recommendation to Accept Guilty Plea filed by

United States Magistrate Judge Matthew Stinnett. [R. 83.] The recommendation instructed the

parties to file any specific written objections within three days after being served with the

decision, or else waive the right to further review. Id. at 3. The Defendant has not objected and

the time to do so has passed.

       Upon review, the Court is satisfied that Defendant Melvin Lee Coffey knowingly and

competently pled guilty to the charged offenses and that an adequate factual basis supports the

plea as to each essential element of the offenses charged. Accordingly, the Court hereby

ORDERS as follows:

       1. Judge Stinnett’s Recommendation to Accept Guilty Plea [R. 83] is ADOPTED as

           and for the Opinion of the Court;

       2. Defendant Melvin Lee Coffey is ADJUDGED guilty of Counts One and Four of the

           Indictment;

       3. The Defendant’s Jury Trial is CANCELLED;
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     4. A Sentencing Order shall be entered promptly.



     This the 13th day of February, 2024.




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